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 1 BRYAN ALTMAN (State Bar No. 122976)
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 3 (310) 277-8481
 4   Attorneys for Defendant
     LILIANA VALER
 5
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )            Case No. CR. S-03-0285 MCE
                                    )
12                  Plaintiff,      )
                                    )
13                                  )
                                    )            [PROPOSED] ORDER
14                                  )             CONTINUING SENTENCING
                                    )
15        v.                        )
                                    )
16   LILIANA VALER,                 )
                                    )            current date: July 19, 2005
17                  Defendant.      )            proposed date: August 30, 2005
                                    )
18   ______________________________ )
19         Defendant LILIANA VALER, by and through her counsel of record, Bryan C.
20   Altman of Altman & Morris, and Plaintiff United States of America, through its
21   attorney, Assistant United States Daniel S. Linhardt, hereby agree and stipulate as
22   follows:
23         1.    By this stipulation, the parties seek a continuance of the sentencing in
24   this matter from August 9, 2005, until August 30, 2005;
25         2.    Defendant and the government need additional time to meet and confer
26   in connection with the cooperation per U.S.S.G. Section 5K1.1; and
27   ///
28   ///
                                             1
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 1         3.     Defendant needs additional time to prepare her response to the pre-
 2   sentence report in this matter.
 3         IT IS SO STIPULATED.
 4
 5                                         Respectfully submitted,
 6
 7   DATED: June 29, 2005                  By:     /s/ Bryan C. Altman
                                                  Bryan C. Altman
 8                                                Attorneys for Defendant
                                                  LILIANA VALER
 9
10   DATED: June 29, 2005                  By: /s/ Daniel S. Linhardt
                                               DANIEL S. LINHARDT
11                                             Assistant United States Attorney
                                               Attorneys for Plaintiff
12                                             UNITED STATES OF AMERICA
13
14                                        ORDER
15
16         The date for sentencing in this case, which is presently set for August 9,
17   2005, is hereby vacated and continued to August 30, 2005 at 8:30 a.m.
18         IT IS SO ORDERED this 5th day of July, 2005.
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20
21                                         ___________________________________
                                           MORRISON C. ENGLAND, JR
22                                         UNITED STATES DISTRICT JUDGE
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